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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
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  In re:
                                                       Chapter 11
  LTL MANAGEMENT, LLC,
                                                       Case No.: 21-30589(MBK)
                                 Debtor.
                                                       Honorable Michael B. Kaplan



      MONTHLY EXPENSE STATEMENT FOR WILLIAM HENRY COMMITTEE
       MEMBER OF TALC CLAIMANTS, FOR THE PERIOD DECEMBER 2021
                  SUBMITTED BY GENOVA BURNS, LLC

           Genova Burns, LLC (“Genova Burns”) submits this Monthly Expense Statement for

 William Henry, Committee Member of Talc Claimants, for the period December 2021, pursuant

 to the Order Establishing Procedures for the Allowance of Interim Compensation and

 Reimbursement of Expenses of Professionals Retained by Order of this Court entered on

 December 9, 2021 (the “Interim Compensation Order”).

           The supporting vouchers for this Expense Statement are annexed hereto as Exhibit “A”.

           WHEREFORE, Genova Burns respectfully requests payment of expenses for this Expense

 Statement of William Henry, Committee Member of Talc Claimants I, in the sum of $741.52, in

 accordance with the terms of the Interim Compensation Order.


                                               GENOVA BURNS, LLC
                                               Local Counsel to Official Committee
                                               of Talc Claimants I


                                               By: /s/ Donald W. Clarke          .
                                                  DONALD W. CLARKE
 Dated: February 9, 2022
